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     ROCKEFELLER PHOTOS, LLC
 6

 7

 8

 9
                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11   ROCKEFELLER PHOTOS, LLC,                                     '25CV1156 H VET
                                                 Civil Action No. _________________

12                  Plaintiff,                   COMPLAINT
13   V.
14
     BANYAN PRODUCTIONS, LLC d/b/a
15   BANYAN KITCHEN & CATERING
     CO.,
16

17                 Defendant.

18

19

20
           Plaintiff Rockefeller Photos, LLC (“Plaintiff”) sues defendant Banyan
21

22
     Productions, LLC d/b/a Banyan Kitchen & Catering Co. (“Defendant”), and

23   alleges as follows:
24
                                       THE PARTIES
25

                                                1
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 1          1.        Plaintiff is a limited liability company organized and existing under
 2
     the laws of the State of Delaware with its principal place of business located in
 3
     Miami-Dade County, Florida.
 4

 5          2.        Defendant is a limited liability company organized and existing under
 6   the laws of the State of California with its principal place of business located at
 7
     4655 Executive Drive, Suite 100, San Diego, CA 92121. Defendant’s agent for
 8
     service of process is Tess Brown, 8241 Waverly Lane, #51, San Diego, CA 92129.
 9

10                               JURISDICTION AND VENUE
11
            3.        This Court has subject matter jurisdiction over this action pursuant to
12
     28 U.S.C. §§ 1331 and 1338(a).
13

14
            4.        This Court has personal jurisdiction over Defendant because it has

15   maintained sufficient minimum contacts with this State such that the exercise of
16
     personal jurisdiction over it would not offend traditional notions of fair play and
17
     substantial justice.
18

19
            5.        Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a)

20   because Defendant or its agents reside or may be found in this district. “The Ninth
21
     Circuit has interpreted Section 1400(a) to mean that venue is proper in any judicial
22
     district    in     which     the    defendant     would     be     amenable      to personal
23

24   jurisdiction.” Righthaven LLC v. Inform Techs., Inc., No. 2:11-CV-00053-KJD-

25   LRL, 2011 U.S. Dist. LEXIS 119379, at *8 (D. Nev. Oct. 14, 2011) (citing Brayton
                                                    2
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 1   Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010)).
 2
                                            FACTS
 3
     I. Plaintiff’s Business and History
 4

 5         6.     Plaintiff is a premier provider of photography and videography in the
 6   food and beverage industry. By offering its customers access to tens of thousands
 7
     of photographs/videos, Plaintiff provides businesses with the opportunity to build
 8
     brand association/recognition through the use of media tailored to their needs.
 9

10         7.     Prepared    Food     Photos,    Inc.    f/k/a     Adlife   Marketing    &
11
     Communications Co., Inc. (“Prepared Food Photos”) is one of the customers
12
     photography agencies represented by Plaintiff. Through its staff of professional
13

14
     photographers, Prepared Food Photos created and owns approximately 18,000

15   food-related photographs for use by supermarkets, ad agencies, and other
16
     professionals needing access to an extensive library of quality photographs.
17
     II. The Work at Issue in this Lawsuit
18
           8.     A professional photographer employed by Plaintiff’s above-named
19

20   customer created a photograph titled “CroissantBasket001, 04-26-2007” (the

21   “Work”). A copy of the Work is displayed below:
22

23

24

25

                                                3
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 5

 6

 7

 8

 9
           9.     The Work was registered by the above-named customer with the

10   Register of Copyrights on August 23, 2016 and was assigned Registration No. VA
11
     2-014-708. A true and correct copy of the Certificate of Registration pertaining to
12
     the Work is attached hereto as Exhibit “A.”
13

14
           10.    Plaintiff’s above-named customer is the owner of the Work and has

15   remained the owner at all times material hereto.
16
           11.    For all times relevant to this action, Plaintiff and its above-named
17
     customer were parties to one or more written agreements whereby such above-
18

19   named customer conveyed to Plaintiff certain exclusive rights in the Work,

20   including but not limited to the exclusive right to reproduce the Work in copies
21
     and the exclusive right to distribute copies of the Work to the public by sale and/or
22
     licensing. Such written agreement(s) likewise convey the exclusive right to pursue
23

24   any infringements of the Work, whether such infringements arose prior to

25   execution of the written agreement(s) or thereafter. As such, Plaintiff is entitled to
                                                4
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 1   institute and maintain this action for copyright infringement. See 17 U.S.C. §
 2
     501(b).
 3
     III.    Defendant’s Unlawful Activities
 4

 5           12.     Defendant owns and operates a café and offers catering for social and
 6   corporate events.
 7
             13.     Defendant advertises/markets its business through its website
 8
     (https://www.banyankitchenonline.com/ and https://banyankitchensd.com/), social
 9

10   media         (e.g.,    https://www.instagram.com/banyankitchensd/?hl=en              and
11
     https://www.facebook.com/banyankitchensd), and other forms of advertising.
12
             14.     On a date after the above-referenced copyright registration of the
13

14
     Work, Defendant displayed and/or published the Work on its website, webpage,

15   and/or social media as a means of advertising, promoting, and/or marketing its
16
     business (at https://www.banyankitchenonline.com/?item=209):
17

18

19

20

21

22

23

24

25
             15.     A true and correct copy of screenshots of Defendant’s website,
                                                   5
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 1   webpage, and/or social media, displaying the copyrighted Work, is attached hereto
 2
     as Exhibit “B.”
 3
           16.    Defendant is not and has never been licensed to use or display the
 4

 5   Work. Defendant never contacted Plaintiff to seek permission to use the Work in
 6   connection with Defendant’s website, webpage, and/or social media – even though
 7
     the Work that was copied is clearly professional photography that would put
 8
     Defendant on notice that the Work was not intended for public use.
 9

10         17.    Defendant utilized the Work for commercial use.
11
           18.    Upon information and belief, Defendant located a copy of the Work
12
     on the internet and, rather than contact Plaintiff to secure a license, simply copied
13

14
     the Work for its own commercial use.

15         19.    Through its ongoing diligent efforts to identify unauthorized use of its
16
     photographs, Plaintiff and/or its above-named customer discovered Defendant’s
17
     unauthorized use/display of the Work in April 2023. Following such discovery,
18

19
     Plaintiff and/or its above-named customer notified Defendant in writing of such

20   unauthorized use.
21
           20.    All conditions precedent to this action have been performed or have
22
     been waived.
23

24                     COUNT I – COPYRIGHT INFRINGEMENT

25         21.    Plaintiff re-alleges and incorporates paragraphs 1 through 20 as set
                                                  6
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 1   forth above.
 2
           22.      Each photograph comprising the Work is an original work of
 3
     authorship, embodying copyrightable subject matter, that is subject to the full
 4

 5   protection of the United States copyright laws (17 U.S.C. § 101 et seq.).
 6         23.      Plaintiff’s above-named customer owns a valid copyright in each
 7
     photograph comprising the Work, having registered the Work with the Register of
 8
     Copyrights.
 9

10         24.      Plaintiff has standing to bring this lawsuit and assert the claim(s)
11
     herein as it has sufficient rights, title, and interest to such copyrights (as Plaintiff
12
     was conveyed certain exclusive rights to reproduce and distribute the Work by the
13

14
     above-named customer).

15         25.      As a result of Plaintiff and/or its above-named customer’s
16
     reproduction, distribution, and public display of the Work, Defendant had access
17
     to the Work prior to its own reproduction, distribution, and public display of the
18

19
     Work on Defendant’s website, webpage, and/or social media.

20         26.      Defendant reproduced, distributed, displayed, and/or publicly
21
     displayed the Work without authorization from Plaintiff or its above-named
22
     customer.
23

24         27.      By its actions, Defendant infringed and violated Plaintiff’s exclusive

25   rights in violation of the Copyright Act, 17 U.S.C. § 501.                     Defendant’s
                                                  7
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 1   infringement was either direct, vicarious, and/or contributory.
 2
           28.    Defendant’s infringement was willful as it acted with actual
 3
     knowledge or reckless disregard for whether its conduct infringed upon copyright.
 4

 5   Notably, Defendant itself utilizes a copyright disclaimer on its website (“© 2025”),
 6   indicating   that   Defendant     understands     the    importance     of   copyright
 7
     protection/intellectual property rights and is actually representing that it owns each
 8
     of the photographs published on its website. See, e.g., Bell v. ROI Prop. Grp.
 9

10   Mgmt., LLC, No. 1:18-cv-00043-TWP-DLP, 2018 U.S. Dist. LEXIS 127717, at
11
     *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness of ROI’s infringement is evidenced
12
     by the fact that at the bottom of the webpage on which the Indianapolis photograph
13

14
     was unlawfully published appeared the following: ‘Copyright © 2017.’ By placing

15   a copyright mark at the bottom of its webpage that contained Mr. Bell’s
16
     copyrighted Indianapolis Photograph, Mr. Bell asserts ROI willfully infringed his
17
     copyright by claiming that it owned the copyright to everything on the webpage.”);
18

19
     John Perez Graphics & Design, LLC v. Green Tree Inv. Grp., Inc., Civil Action

20   No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at *12-13 (N.D. Tex. May 1,
21
     2013) (“Once on Defendant’s website, Defendant asserted ownership of Plaintiff's
22
     Registered Work by including a copyright notice at the bottom of the page. Based
23

24   on these allegations, the Court finds Plaintiff has sufficiently pled a willful

25   violation….”). Defendant clearly understands that professional photography such
                                                8
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 1   as the Work is generally paid for and cannot simply be copied from the internet.
 2
           29.    Plaintiff has been damaged as a direct and proximate result of
 3
     Defendant’s infringement.
 4

 5         30.     Plaintiff is entitled to recover its actual damages resulting from
 6   Defendant’s unauthorized use of the Work and, at Plaintiff’s election (pursuant to
 7
     17 U.S.C. § 504(b)), Plaintiff is entitled to recover damages based on a
 8
     disgorgement of Defendant’s profits from infringement of the Work, which
 9

10   amounts shall be proven at trial.
11
           31.    Alternatively, and at Plaintiff’s election, Plaintiff is entitled to
12
     statutory damages pursuant to 17 U.S.C. § 504(c), in such amount as deemed
13

14
     proper by the Court.

15         32.    Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its
16
     costs and attorneys’ fees as a result of Defendant’s conduct.
17
           33.    Defendant’s conduct has caused, and any continued infringing
18

19
     conduct will continue to cause, irreparable injury to Plaintiff unless enjoined by

20   the Court. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,
21
     Plaintiff is entitled to a permanent injunction prohibiting infringement of Plaintiff’s
22
     exclusive rights under copyright law.
23

24         WHEREFORE, Plaintiff demands judgment against Defendant as follows:

25      a. A declaration that Defendant has infringed the copyrights in the Work;
                                                 9
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 1       b. A declaration that such infringement is willful;
 2
         c. An award of actual damages and disgorgement of profits as the Court deems
 3
            proper or, at Plaintiff’s election, an award of statutory damages for each
 4

 5          photograph comprising the Work;
 6       d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17
 7
            U.S.C. § 505;
 8
         e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing
 9

10          amounts;
11
         f. Permanently enjoining Defendant, its employees, agents, officers, directors,
12
            attorneys, successors, affiliates, subsidiaries and assigns, and all those in
13

14
            active concert and participation with Defendant, from directly or indirectly

15          infringing Plaintiff’s copyrights or continuing to display, transfer, advertise,
16
            reproduce, or otherwise market any works derived or copied from the Work
17
            or to participate or assist in any such activity; and
18

19
         g. For such other relief as the Court deems just and proper.

20

21
      DATED:      May 7, 2025.                COPYCAT LEGAL PLLC
22
                                              By: /s/ Lauren Hausman
23                                                    Lauren Hausman
24
                                                      Attorney for Plaintiff
                                                      Rockefeller Photos, LLC
25

                                                10
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